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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MARYLAND

PFLAG, INC., et al.,                       )
                                           )
        Plaintiffs,                        )
                                           )
v.                                         )   Civil No. 25-337-BAH
                                           )
DONALD J. TRUMP, in his official capacity )
as President of the United States, et al., )
                                           )
        Defendants.                        )

    BRIEF OF THE STATES OF ALABAMA, ALASKA, ARKANSAS, FLORIDA,
   GEORGIA, IDAHO, INDIANA, IOWA, KANSAS, LOUISIANA, MISSISSIPPI,
  MISSOURI, MONTANA, NEBRASKA, NORTH DAKOTA, OKLAHOMA, SOUTH
CAROLINA, SOUTH DAKOTA, TENNESSEE, TEXAS, VIRGINIA, WEST VIRGINIA,
AND THE ARIZONA STATE LEGISLATURE AS AMICI CURIAE IN OPPOSITION TO
         PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
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  21 INT’L J. OF TRANSGENDER HEALTH 391 (2020) ................................................................... 15

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                  INTRODUCTION AND INTEREST OF AMICI CURIAE1

       Plaintiffs seek a preliminary injunction based on a carefully curated factual narrative that
is misleading at best. For the equities, they build their case primarily on unnamed “clinical practice
guidelines” that purportedly govern how clinicians “assess, diagnose, and treat adolescents and
adults with gender dysphoria.” Doc. 69-1 at 3. Plaintiffs assure that the guidelines are “evidence-
based,” “widely accepted,” and definitely “not based on ‘junk’ science.” Id. at 3-4. Yet there is a
reason Plaintiffs dare not name the guidelines on which they build their case. According to Plain-
tiffs’ experts,2 those guidelines are the “Standards of Care Version 8” by the World Professional
Association for Transgender Health (WPATH)—the very guidelines the “Protecting Children” ex-
ecutive order correctly found “lack[] scientific integrity.”3

       The Amici States have seen this playbook before. In 2022, for instance, shortly after the
Alabama legislature passed a law prohibiting pediatric sex-change procedures, plaintiffs there
sought a preliminary injunction based on the promise that WPATH used the “best available sci-
ence” to develop the “standard of care.” See PI Mem., Boe v. Marshall, No. 2:22-cv-184 (M.D.
Ala. 2022), ECF 8 at 12-13, 16. The district court believed them. While acknowledging that
“[k]nown risks” of transitioning treatments “include loss of fertility and sexual function,” the court
preliminarily enjoined enforcement of Alabama’s law because “WPATH recognizes transitioning
medications as established medical treatments and publishes a set of guidelines for treating gender
dysphoria in minors with these medications.” Eknes-Tucker v. Marshall, 603 F. Supp. 3d 1131,
1139, 1151 (M.D. Ala. 2022), rev’d sub nom. Eknes-Tucker v. Governor of Ala., 80 F.4th 1205
(11th Cir. 2023), reh’g en banc denied, 114 F.4th 1241 (11th Cir. 2024).




1
  This brief is submitted pursuant to L.R. 105.12(a), which allows States to “file an amicus brief
without the consent of the parties or leave of court.”
2
  E.g., Shumer Decl., Doc. 69-1 ¶¶40, 50, 52-54; Karasic Decl., Doc. 69-49 ¶¶7, 54-63.
3
  Executive Order 14187, Protecting Children from Chemical and Surgical Mutilation, 90 Fed.
Reg. 8771, 8771 (Jan. 28, 2025).


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       Alabama then sought and obtained court-ordered discovery from WPATH to test the
court’s deference.4 Doing so unveiled a tragic medical scandal. Internal documents from WPATH

showed that the organization crafted its Standards of Care 8 as “a tool for our attorneys to use in
defending access to care.”5 Its evidence-review team “found little to no evidence about children
and adolescents.”6 Some SOC-8 authors opted out of the evidence-review process due to “con-
cerns, echoed by the social justice lawyers we spoke with, … that evidence-based review reveals
little or no evidence and puts us in an untenable position in terms of affecting policy or winning
lawsuits.”7 And Admiral Rachel Levine, the former Assistant Secretary for Health at HHS, de-
manded that WPATH remove all age limits for chemical treatments, chest surgeries, and even
surgeries to remove children’s genitals from SOC-8. After some initial consternation “about al-
lowing US politics to dictate international professional clinical guidelines,”8 WPATH obliged.
       Plaintiffs tell the Court none of this, even though three of their experts—Dr. Shumer, Dr.
Antommaria, and Dr. Karasic—are also witnesses in Alabama’s case, and Dr. Karasic even helped
create SOC-8. Nor do they mention the independent review commissioned by England’s National
Health Service to study the safety and efficacy of pediatric transitioning treatments.9 The verdict?
Dr. Hilary Cass, the pediatrician who led the review, put it this way: “I can’t think of another area
of paediatric care where we give young people a potentially irreversible treatment and have no
idea what happens to them in adulthood.”10 No wonder countries in Europe are restricting minors’


4
  See Order, Boe, 2:22-cv-184 (M.D. Ala. Mar. 27, 2023), Doc. 263.
5
  Defs’ Ex. 181 at 75, Boe, 2:22-cv-184 (M.D. Ala.), Doc. 700-10.
Throughout this brief, amici will reference evidence Alabama submitted to the court in Boe.
Citations will be by exhibit number followed by the docket entry in parenthesis and the internal
page number following the colon. E.g., Ex.181(Doc.700-10):75. Exhibits are available online:
https://www.alabamaag.gov/boe-v-marshall/.
6
  Ex.173(Doc.560-23):22.
7
  Ex.174(Doc.560-24):1-2.
8
  Ex.186(Doc.700-15):32.
9
  Cass Review (2024), https://perma.cc/3QVZ-9Y52.
10
   Abbasi, “Medication is Binary,” BMJ (Apr. 2024), https://perma.cc/KUM3-XL2S.


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access to the “treatments.” See Lavietes, Britain Bans Puberty Blockers for Transgender Minors,
NBC NEWS (Dec. 11, 2024), https://perma.cc/3Q4SNV8E; Ghorayshi, Scotland Pauses Gender

Medications for Minors, N.Y. TIMES (Apr. 18, 2024), https://perma.cc/4YV6- FCX5 (reporting
that Scotland became “the sixth country in Europe to limit” access).
        Nor do Plaintiffs tell the Court what every systematic evidence review has found: only low
or very-low quality evidence yielding “considerable uncertainty.”11 That conclusion is not likely
to change soon. In October, the head of a large, NIH-funded study admitted to finding that “[p]ub-
erty blockers did not lead to mental health improvements”—and then told the New York Times that
she has not published the results because she does not want the findings “to be weaponized.”12
        Annelou de Vries, a seminal researcher in the field cited by all of Plaintiffs’ experts, went
further. Tacitly admitting the truth of “the critique that there is insufficient evidence,” she recently
wrote to “question” the “normative assumption” that the interventions “must necessarily result in
‘effective’ outcomes in order to be considered legitimate and essential care.”13 She suggested that
the care instead be “provided and justified on the basis of personal desire and autonomy,” that
“effectiveness” be measured by how well the interventions “help individuals achieve their embod-
iment goals,” and that any “experience of regret” be welcomed as “inherent to all lives.”14
        Plaintiffs echo the recasting. Showing just how far the field has come from its since-aban-
doned quest for “effective” and evidence-based care, Plaintiffs argue that sex-change procedures
are “medically necessary” for “nonbinary” minors desiring the treatments—even though none of
the foundational studies included nonbinary participants and none of Plaintiffs’ experts discuss


11
   See Miroshnychenko et al., Puberty Blockers for Youth Experiencing Gender Dysphoria, ARCH.
OF DISEASE IN CHILDHOOD (Jan. 24, 2025), https://perma.cc/U3CC-MNCX; Miroshnychenko et
al., Gender-Affirming Hormone Therapy for Individuals With Gender Dysphoria, ARCH. OF
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   Ghorayshi, U.S. Study on Puberty Blockers Goes Unpublished Because of Politics, N.Y. TIMES
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13
    Oosthoek, de Vries, et al., Gender-affirming Medical Treatment for Adolescents, 25 BMC
MEDICAL ETHICS 154 (2024), https://perma.cc/8W4R-CEG7.
14
   Id.


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research about medical interventions for such individuals. The only reference in the Endocrine
Society’s guideline to nonbinary patients is an admission that “[n]o evidence-based protocols are

available,”15 while WPATH’s SOC-8 suggests that because “evidence is limited” doctors should
be “led by a given client’s personal understanding of gender as it relates to the client’s gender
identity, expression, and any need for medical care.”16 To Plaintiffs and WPATH, a medical treat-
ment becomes “medically necessary” the moment a “client” picks it from the buffet to meet a
personal “embodiment goal.” No other area of pediatric medicine works like this.
       Plaintiffs also mislead when it comes to the evidence that does exist. For instance, they
claim that “puberty-delaying medication” has “no impact on fertility,” Doc. 69-1 at 27, but they
fail to inform the Court that nearly all children who start on puberty blockers to treat gender dys-
phoria then take cross-sex hormones—and the combination can permanently impair fertility, as
Plaintiffs’ expert Dr. Shumer admits.17 And how could it not? As Dr. Shumer said, “progressing
through natural puberty is a requirement for fertility.”18
       Then there is the risk of suicide, which Plaintiffs argue requires granting relief. E.g., Doc.
69-1 at 26. But as Plaintiffs’ own attorney recently told the Supreme Court, “there is no evidence
… that this treatment reduces completed suicide.” Tr.88, United States v. Skrmetti, No. 23-477
(U.S. Dec. 4, 2024).19 Too many parents are familiar with the threat, though, having “consented”
to sex-change procedures after being told that “You can either have a living son or a dead daugh-
ter.”20 Given the vulnerability of this young patient population, it’s a wonder these suggestions

15
   Hembree et al., Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent Persons, 102
J. CLIN. ENDOCRINOL. METAB. 3869, 3888 (2017)
16
   E. Coleman et al., Standards of Care for the Health of Transgender & Gender Diverse People,
Version 8, 23 INT’L J. OF TRANSGENDER HEALTH S84, S81 (2022) (emphasis added),
https://perma.cc/Y9G6-TP3M.
17
   See Ex.39(Doc.564-25):121:5-20, 153:13–158:15.
18
   Ex.39(Doc.564-25):150:1-7.
19
   See also Cass Review, supra note 9, at 33 (“It has been suggested that hormone treatment reduces
the elevated risk of death by suicide in this population, but the evidence found did not support this
conclusion.”).
20
   Affidavit of Jamie Reed ¶39 (Feb. 7, 2023), https://perma.cc/QE9Q-K2QP.


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haven’t already become self-fulfilling prophecy—which cynical advocates would then use to fur-
ther “affect[] policy” and “win[] lawsuits.”

       Minors suffering from gender dysphoria deserve better. Amici States submit this brief to
tell the Court just some of what they learned about WPATH after peeking behind the curtain.
Plaintiffs’ reliance on WPATH is reason to reject their request for relief, not reason to grant it.
                                           ARGUMENT
I.     WPATH Crafted SOC-8 As A Political And Legal Document.
       WPATH published Standards of Care 8 (SOC-8) in September 2022. Dr. Eli Coleman, a
sexologist at the University of Minnesota, chaired the guideline committee, and WPATH hired an
outside evidence-review team led by Dr. Karen Robinson at Johns Hopkins University to conduct
systematic evidence reviews for authors to use in formulating their recommendations.21 Two
WPATH presidents, Dr. Walter Bouman, a clinician at the Nottingham Centre for Transgender
Health in England, and Dr. Marci Bowers, a surgeon in California who has performed over 2,000
transitioning vaginoplasties, oversaw the development and publication of the guideline.
       A.      WPATH Used SOC-8 to Advance Political and Legal Goals.
       WPATH selected 119 authors—all existing WPATH members—to contribute to SOC-8.22
According to Dr. Bowers, it was “important” for each author “to be an advocate for [transitioning]
treatments before the guidelines were created.”23 Many authors regularly served as expert wit-
nesses to advocate for sex-change procedures in court; Dr. Coleman testified that he thought it was
“ethically justifiable” for those authors to “advocate for language changes [in SOC-8] to strengthen
[their] position in court.”24 Other contributors seemed to concur. One wrote: “My hope with these
SoC is that they land in such a way as to have serious effect in the law and policy settings that
have affected us so much recently; even if the wording isn’t quite correct for people who have the


21
   SOC-8, supra note 16, at S248-49.
22
   SOC-8, supra note 16, at S248-49; see Ex.21(Doc.700-3):201:2–223:24.
23
   Ex.18(Doc.564-8):121:7-11.
24
   Ex.21(Doc.700-3):158:17-25.


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background you and I have.”25 Another chimed in: “It is abundantly clear to me when I go to court
on behalf of TGD [transgender and gender-diverse] individuals” that “[t]he wording of our section

for Version 7 has been critical to our successes, and I hope the same will hold for Version 8.”26
       Perhaps for this reason—and because it knew that “we will have to argue it in court at some
point”27—WPATH commissioned a legal review of SOC-8 and was in regular contact with move-
ment attorneys.28 Dr. Bouman noted the oddity: “The SOC8 are clinical guidelines, based on clin-
ical consensus and the latest evidence based medicine; [I] don’t recall the Endocrine Guidelines
going through legal reviews before publication, or indeed the current SOC?”29 The WPATH Ex-
ecutive Committee discussed various options for the review—“ideas; ACLU, TLDEF, Lambda
Legal…”30—before apparently settling on the senior director of transgender and queer rights at
GLAD to conduct the review.31
       Authors were explicit in their desire to tailor SOC-8 to ensure coverage for an “individual’s
embodiment goals,”32 whatever they might be. As Plaintiffs’ expert Dr. Dan Karasic explained to
other contributors: “Medical necessity is at the center of dozens of lawsuits in the US right now”;33
“I cannot overstate the importance of SOC 8 getting this right at this important time.”34
       At Dr. Karasic’s urging, WPATH thus included a whole section in SOC-8 on “medical
necessity.”35 It also made sure to sprinkle the “medically necessary” moniker throughout the guide-
line, even when doing so revealed it had put the cart before the horse. The adolescent chapter, for

25
   Ex.184(Doc.700-13):24.
26
   Ex.184(Doc.700-13):15.
27
   Ex.182(Doc.700-11):152.
28
   Ex.4(Doc.557-4):vi.
29
   Ex.182(Doc.700-11):151.
30
   Ex.184(Doc.700-13):14.
31
   SOC-8, supra note 16, at S177.
32
   Ex.180(Doc.700-9):11.
33
   Id. at 64.
34
   Ex.181(Doc.700-10):43.
35
   SOC-8, supra note 16, at S18.


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instance, notes that “[a] key challenge in adolescent transgender care is the quality of evidence
evaluating the effectiveness of medically necessary gender-affirming medical and surgical treat-

ments,”36 but WPATH never paused to ask (or answer) how such treatments can be considered
“medically necessary” if the “quality of evidence” supporting their use is so deficient. At least
some authors tacitly acknowledged the question and made sure they wouldn’t have to answer it—
by following the advice of “social justice lawyers” to avoid conducting evidence reviews.37
       B.      WPATH Changed Its Treatment Recommendations Based on Political
               Concerns.
       Outside political actors also influenced SOC-8. Most notably, Admiral Levine, the former
Assistant Secretary for Health, met regularly with WPATH leaders, “eager to learn when SOC 8
might be published.”38 A few months before SOC-8 was to be published in September 2022 (and
long after the public comment period had closed that January39), WPATH sent Levine an “Embar-
goed Copy – For Your Eyes Only” draft of SOC-8 that had been “completed” and sent to the
publisher for proofreading and typesetting.40 The draft included a departure from Standards of
Care 7, which, except for so-called “top surgeries,” restricted transitioning surgeries to patients
who had reached the “[a]ge of majority in a given country.”41 The draft SOC-8 relaxed the age
minimums: 14 for cross-sex hormones, 15 for “chest masculinization” (i.e., mastectomy), 16 for
“breast augmentation, facial surgery (including rhinoplasty, tracheal shave, and genioplasty),” 17
for “metoidioplasty, orchiectomy, vaginoplasty, hysterectomy and fronto-orbital remodeling,” and
18 for “phalloplasty.”42



36
   Id. at S45-46.
37
   Ex.174(Doc.560-24):1-2.
38
   Ex.184(Doc.700-13):54.
39
   See Ex.187(Doc.700-16):4-5.
40
   Ex.170(Doc.700-4):61-64.
41
   Coleman, Standards of Care, Version 7, 13 INT’L J. OF TRANSGENDERISM 1, 25-27 (2012),
https://perma.cc/T8J7-W3WC.
42
   Ex.170(Doc.700-4):143.


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       After reviewing the draft, Levine’s office contacted WPATH with a political concern: that
the listing of “specific minimum ages for treatment,” “under 18, will result in devastating legisla-

tion for trans care.”43 WPATH leaders met with Levine to discuss the age recommendations.44
Levine’s solution was simple: “She asked us to remove them.”45
       WPATH initially told Levine that it “could not remove [the age minimums] from the doc-
ument” because the recommendations had already been approved by SOC-8’s “Delphi” consensus
process.46 (Indeed, Dr. Coleman said that consensus was “[t]he only evidence we had” for the
recommendations.47) But, WPATH continued, “we heard your comments regarding the minimal
age criteria” and, “[c]onsequently, we have made changes to the SOC8” by downgrading the age
“recommendation” to a “suggestion.”48 Unsatisfied, Levine immediately requested—and re-
ceived—more meetings with WPATH.49
       Following Levine’s intervention, and days before SOC-8 was to be published, pressure
from the American Academy of Pediatrics (AAP) tipped the scales when it threatened to oppose
SOC-8 if WPATH did not remove the age minimums.50 WPATH leaders initially balked. One of
the co-chairs of SOC-8 complained that “[t]he AAP guidelines … have a very weak methodology,
written by few friends who think the same.”51 But the political reality soon set in: AAP was “a
MAJOR organization,” and “it would be a major challenge for WPATH” if AAP opposed SOC-
8.52 WPATH thus “remove[d] the ages.”53

43
   Ex.186 (Doc.700-15):28.
44
   See Ex.186 (Doc.700-15):11, 17; Ex.21(Doc.700-3):287:5–288:6.
45
   Ex.186 (Doc.700-15):11.
46
   Id. at 17.
47
   Id. at 57.
48
   Id. at 17.
49
   See Ex.18(Doc.564-8):226:8–229:18; Ex.186 (Doc.700-15):73, 88-91.
50
   Ex.187(Doc.700-16):13-14, 109.
51
   Id. at 100.
52
   Id. at 191.
53
   Id. at 338.


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       That is concerning enough. But perhaps even more worrisome is what the episode reveals.
First, it shows that politicians and AAP sought, and WPATH agreed, to make changes in a clinical

guideline recommending irreversible sex-change procedures for kids based purely on political con-
siderations. Dr. Coleman was clear in his deposition that WPATH removed the age minimums
without allowing authors to vote on the change and “without being presented any new science of
which the committee was previously unaware.”54 Remarkably, WPATH still tells this Court the
exact opposite. See Doc. 79-1 at 10 (assuring that “[e]ach recommendation” went through Delphi).
        Second, as soon as WPATH made the change, it treated the decision as “highly, highly
confidential.”55 Dr. Bowers encouraged contributors to submit to “centralized authority” so there
would not be “differences that can be exposed.”56 “[O]nce we get out in front of our message,”
Bowers urged, “we all need to support and reverberate that message so that the misinformation
drone is drowned out.”57
       Having decided the strategy, Bowers then crafted the message, circulating internally the
“gist of my[] response to Reuters” about the missing age minimums: “[S]ince the open comment
period, a great deal of input has been received and continued to be received until the final release.
[I] feel the final document puts the emphasis back on individualized patient care rather than some
sort of minimal final hurdle that could encourage superficial evaluations and treatments.”58 An-
other leader responded: “I like this. Exactly—individualized care is the best care—that’s a positive
message and a strong rationale for the age change.”59 Apparently, it didn’t matter that the expla-
nation itself was “misinformation”; as Dr. Bowers explained in a similar exchange, “it is a balanc-
ing act between what i feel to be true and what we need to say.”60

54
   Ex.21(Doc.700-3):293:25–295:16.
55
   Ex.188(Doc.700-17):152.
56
   Ex.177(Doc.700-6):124.
57
   Id. at 119.
58
   Ex.188(Doc.700-17):113.
59
   Id.
60
   Ex.177(Doc.700-6):102.


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II.    WPATH Did Not Follow The Principles Of Evidence-Based Medicine It Said It
       Followed.
       At the back of SOC-8 is an appendix with the methodology WPATH said it employed.61 It
proclaims that WPATH managed conflicts of interest, used the GRADE framework to tailor rec-
ommendation statements based on strength of evidence, and engaged an evidence-review team to
conduct systematic literature reviews for SOC-8.62 Discovery revealed a different story.
       A.      WPATH Failed to Properly Manage Conflicts of Interest.
       WPATH cites two standards it said it used to manage conflicts of interest: one from the

National Academies of Medicine and the other from the World Health Organization.63 Both stand-
ards generally recognize that the experts best equipped for creating practice guidelines are those
at arm’s length from the services at issue—sufficiently familiar with the topic, but not profession-
ally engaged in performing, researching, or advocating for the practices under review.64
       At the same time, the standards recognize that a guideline committee typically benefits
from some involvement by clinicians who provide the services at issue.65 Accordingly, they sug-
gest ways for committees to benefit from conflicted clinicians while limiting their involvement.
The standard from the National Academies recommends that “[m]embers with [conflicts of inter-
est] should represent not more than a minority of the [guideline development group].”66
       WPATH largely ignored these standards. From the get-go, it expressly limited SOC-8 au-
thorship to existing WPATH members—clinicians and other professionals (and non) who were




61
   See SOC-8, supra note 16, at S247-51.
62
   Id.
63
   Id. at S247.
64
   Id.; Institute of Medicine (National Academies of Medicine), Clinical Practice Guidelines We
Can Trust 81-93 (2011), https://perma.cc/7SA9-DAUM; World Health Organization, Handbook
for Guideline Development 19-23 (2012).
65
   Institute of Medicine, supra note 64, at 83.
66
   Id. (emphasis added).


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already enthusiastic about transitioning treatments.67 As Dr. Bowers testified, it was “important
for someone to be an advocate for [transitioning] treatments before the guidelines were created.”68

       Dr. Bowers’s involvement in SOC-8 offers a good illustration of the lack of real conflict
checks. According to the National Academies, a “conflict of interest” is “[a] divergence between
an individual’s private interests and his or her professional obligations such that an independent
observer might reasonably question whether the individual’s professional actions or decisions are
motivated by personal gain, such as financial, academic advancement, clinical revenue streams, or
community standing.”69 Bowers should have been subject to that standard, serving not only as a
member of the Board that oversaw and approved SOC-8 but as an author of the chapter tasked
with evaluating the evidence for transitioning surgeries.
       So it is notable that Bowers made “more than a million dollars” in 2023 from providing
transitioning surgeries, but said it would be “absurd” to consider that a conflict worth disclosing
or otherwise accounting for as part of SOC-8.70 That was WPATH’s public position as well: It
assured readers that “[n]o conflicts of interest were deemed significant or consequential” in craft-
ing SOC-8.71
       Privately, WPATH leaders knew everything was not up to par. Dr. Coleman admitted that
“most participants in the SOC-8 process had financial and/or nonfinancial conflicts of interest.”72
Dr. Robinson, the chair of the evidence-review team, said the same: She “expect[ed] many, if not
most, SOC-8 members to have competing interests.”73 She even had to inform WPATH—belat-
edly—that “[d]isclosure, and any necessary management of potential conflicts, should take place



67
   SOC-8, supra note 16, at S248; see Ex.21(Doc.700-3):201:2–223:24.
68
   Ex.18(Doc.564-8):121:7-11.
69
   Institute of Medicine, supra note 64, at 78.
70
   Ex.18(Doc.564-8):37:1-13, 185:25–186:9.
71
   SOC-8, supra note 16, at S177.
72
   Ex.21(Doc.700-3):230:17-23.
73
   Ex.166(Doc.560-16):1.


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prior to the selection of guideline members.”74 “Unfortunately,” she lamented, “this was not done
here.”75 No matter: SOC-8 proclaims the opposite (“Conflict of interests were reviewed as part of

the selection process”76), and Dr. Coleman testified that he did not know of any author removed
from SOC-8 due to a conflict.77
       B.      WPATH Was Not Transparent in How It Used GRADE.
       WPATH boasted that it used a process “adapted from the Grading of Recommendations,
Assessment, Development and Evaluations (GRADE) framework” for “developing and presenting
summaries of evidence” using a “systematic approach for making clinical practice recommenda-
tions.”78 According to WPATH, Dr. Robinson’s evidence-review team was to conduct systematic
evidence reviews, “assign[] evidence grades using the GRADE methodology,” and “present[] ev-
idence tables and other results of the systematic review” to SOC-8 authors.79
       Chapter authors were then to grade the recommendation statements based on the evi-
dence.80 Per WPATH, “strong recommendations”—“we recommend”—were only for situations
where “the evidence is high quality,” “a high degree of certainty [that] effects will be achieved,”
“few downsides,” and “a high degree of acceptance among providers.”81 On the other hand,
“[w]eak recommendations”—“we suggest”—were for when “there are weaknesses in the evidence
base,” “a degree of doubt about the size of the effect that can be expected,” and “varying degrees
of acceptance among providers.”82 To “help readers distinguish between recommendations




74
   Id. (emphasis added).
75
   Id.
76
   SOC-8, supra note 16, at S177.
77
   Ex.21(Doc.700-3):232:13-15.
78
   SOC-8, supra note 16, at S250.
79
   Id. at S249-50.
80
   Id. at S250.
81
   Id.
82
   Id.


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informed by systematic reviews and those not,” recommendations were to “be followed by cer-
tainty of evidence for those informed by systematic literature reviews”:

               ++++            strong certainty of evidence
               +++             moderate certainty of evidence
               ++              low certainty of evidence
               +               very low certainty of evidence[83]
       The reality did not match the promise. To begin, as Dr. Coleman wrote, “we were not able
to be as systematic as we could have been (e.g., we did not use GRADE explicitly).”84 Dr. Karasic,
the chair of the mental health chapter, testified that rather than relying on systematic reviews, some
drafters simply “used authors … we were familiar with.”85
       WPATH also decided not to differentiate “between statements based on [literature reviews]
and the rest,”86 and ordered the removal of all notations disclosing the quality of evidence for each
recommendation. A draft of the hormone chapter illustrates the change. The chapter had initially
offered a “weak recommendation” (“we suggest”) based on low-quality evidence (“++”) that cli-
nicians prescribe cross-sex hormones to gender dysphoric adolescents, “preferably with paren-
tal/guardian consent.”87
       At first, WPATH seemed to just remove the evidence notations. But then the recommen-
dations themselves appeared to morph from weak (“we suggest”) to strong (“we recommend”). So
it was in the adolescent chapter, where all but one recommendation is now “strong”88—even as
those recommendations are surrounded by admissions that “[a] key challenge in adolescent
transgender care is the quality of evidence,” with “the numbers of studies … still [so] low” that “a

systematic review regarding outcomes of treatment in adolescents” is purportedly “not possible.”89

83
   WPATH, Methodology for the Development of SOC8, https://perma.cc/QD95-754H.
84
   Ex.190(Doc.700-18):8; see Ex.182(Doc.700-11):157-58.
85
   Ex.39(Doc.592-39):66:2–67:5.
86
   Ex.182(Doc.700-11):62; see Ex.9(Doc.700-2):¶¶29-36, 43-47.
87
   Ex.182(Doc.700-11):5; see id. at 1-40; Ex.9(Doc.700-2):¶¶29-36, 43-47.
88
   SOC-8, supra note 16, at S48.
89
   Id. at S46-47.


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And so it was in the hormone chapter, where the final version of the above statement transformed
into a strong “we recommend.”90

        While this mismatch may not seem like a big deal, the difference between a “strong” and
“weak” recommendation is important, particularly when it comes to life-altering interventions like
cross-sex hormones. Under GRADE, “low” or “very-low” quality evidence means, respectively,
that the true effect of the medical intervention may, or is likely to be, “substantially different” from
the estimate of the effect based on the evidence available.91 Thus, given that the estimated effect
is therefore likely to be wrong for very low-quality evidence, it is imperative for clinicians to know
the quality of evidence supporting a treatment recommendation—and why, with certain exceptions
not applicable here, evidence-based medicine warns against “strong” recommendations based on
low-quality evidence.92 WPATH promised clinicians that it followed this system when it actually
eschewed transparency and made “strong” recommendations regardless of the evidence.
        C.      WPATH Hindered Publication of Evidence Reviews.
        Though the SOC-8 authors and their advocacy allies didn’t seem to have much use for
them, the Johns Hopkins evidence-review team “completed and submitted reports of reviews (doz-
ens!) to WPATH” for SOC-8.93 The results were concerning. In August 2020, the head of the team,
Dr. Robinson, wrote to the Agency for Healthcare Research and Quality at HHS about their re-
search into “multiple types of interventions (surgical, hormone, voice therapy…).”94 She reported:
“[W]e found little to no evidence about children and adolescents.”95




90
   Id. at S111.
91
     Balshem, GRADE Guidelines, 64 J. CLINICAL EPIDEMIOL. 401, 404 (2011),
https://perma.cc/2KDY-6BW5.
92
     Yao, Discordant and Inappropriate Discordant Recommendations, BMJ (2021),
https://perma.cc/W7XN-ZELX.
93
   Ex.173 (Doc.560-23):22-25.
94
   Id. at 24.
95
   Id. at 22.


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       Dr. Robinson also informed HHS that she was “having issues with this sponsor”—
WPATH—“trying to restrict our ability to publish.”96 Days earlier, WPATH had rejected Robin-

son’s request to publish two manuscripts because her team failed to comply with WPATH’s policy
for using SOC-8 data.97 Among other things, that policy required the team to seek “final approval”
of any article from an SOC-8 leader and then from the WPATH Board of Directors.98
       WPATH justified its oversight by reasoning that it was of “paramount” importance “that
any publication based on WPATH SOC8 data [be] thoroughly scrutinized and reviewed to ensure
that publication does not negatively affect the provision of transgender healthcare in the broadest
sense” (as WPATH defined it).99 But to make the process appear neutral, WPATH imposed one
last requirement: Authors had to “acknowledge[]” in their manuscript that they were “solely re-
sponsible for the content of the manuscript, and the manuscript does not necessarily reflect the
view of WPATH.”100
       WPATH eventually allowed the Johns Hopkins team to publish two of its manuscripts.
(It’s still unclear what happened to the others.101) The team dutifully reported that the “authors”—
not WPATH—were “responsible for all content.”102
                                         CONCLUSION
       These vignettes are necessarily incomplete. Much more could be said. But the point is
simply this: Plaintiffs have come to this Court seeking preliminary injunctive relief based on a
carefully constructed narrative that is, in fact, not true. The Court should deny Plaintiffs’ motion.



96
   Id.
97
   Ex.167(Doc.560-17):86-88.
98
   Id. at 37-38, 75-81.
99
   Id. at 91.
100
    Id. at 38.
101
    Cf. Ex.167(Doc.560-17):91.
102
    Baker, Hormone Therapy, Mental Health, and Qualify of Life, 5 J. ENDOCRINE SOC’Y 1, 3
(2021); Wilson, Effects of Antiandrogens on Prolactin Levels Among Transgender Women, 21
INT’L J. OF TRANSGENDER HEALTH 391, 392 (2020).


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                                 CERTIFICATE OF SERVICE
        I certify that on February 25, 2025, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send notification of such filing to any CM/ECF par-
ticipants.
                                                                      s/ Ian D. Prior
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